lN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
Civil Action NO.: 5:l7-cv- 00534-H

)
EPIC GAl\/[ES, INC., )
)
Plaintiff, )
v § AFFIDAVIT OF CHRISTOPHER M.
) THOMAS IN SUPPORT OF MOTION FOR
DEFAULT JUDGMENT
C.R., )
)
Defendant. )
)
)

 

Christopher M. Thomas, appearing before the undersigned notary and having first been
duly sworn, states as follows:

l. l am over 18 years of age, suffer from no known disability, and have personal
knowledge of the facts set forth herein. All the statements in this affidavit are true and correct.

2. I am counsel for the Plaintiff Epic Games, Inc. (“Epic” or “Plaintiff”) in the
above-captioned case.

3. Under Local Civil Rule 55.l(b)(l), Epic’s Motion for Default Judgment
(“Motion”), filed contemporaneously herewith, is reduired to “be supported by an affidavit
stating that each party against which judgment is sought is not an infant, an incompetent person,
or in the military service of the United States.” See id.

4. In this case, the party against which judgment is sought, Defendant C.R., is
believed to be a minor. As discussed in Epic’s Motion, C.R. is properly represented by his
mother and general guardian, Ms. Lauren Rogers (“Ms. Rogers”). A'ccordingly, C.R.’s interests

are protected.

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5 . Because Fed. R. Civ. P. 55(b)(2) provides in relevant part, that a default judgment

may be entered by the court against a minor if the minor is represented by a general guardian,

Plaintiff’s Motion should be found to comply with Fed. R. Civ. P. 55 and Local Civil Rule

55.1(b)(1).

This the 24th day of Septcmber, 2018.

SWORN TO and subscribed before me
this the gt day of September, 2018.

Oéw%t; 2 /ZML

Notary Public

My Commission Expires: 02 ' / ’ 947

 

CHR|ST|NA P. ROUTH
Notary Public
North Carolina
Wake County

 

 

 

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Q…C%_

Christopher M. Thomas

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Attorneysfor Plaintijj"
Epic Games, Inc.

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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing AFFIDAVIT OF CHRISTOPHER M.
THOMAS IN SUPPORT OF MOTION FOR DEFAULT JUDGMENT was electronically
filed this day with the Clerk of Court using the CM/ECF system and that a true and accurate
copy of it was sent to all parties to this cause by depositing the original and/or copy hereof,

postage pre-paid, in the United States mail, addressed as follows:

C.R.
c/o Lauren Rogers
501 West Ave.
New Castle, DE 19720

C.R.
c/o Lauren Rogers
5 Vireo Circle
Newark, DE 19711

This the 24th day of September 2018.

/s/ Christor)her M. Thomas
Christopher M. Thomas

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